     Case 2:17-cv-02333-JAM-KJN Document 16 Filed 04/10/18 Page 1 of 2


 1 Scott Sagaria (State Bar No.217981)
   sjsagaria@sagarialaw.com
 2 Elliot Gale (State Bar No. 263326)
   egale@sagarialaw.com
 3 Joe Angelo (State Bar No. 268542)
   jangelo@sagarialaw.com
 4 SAGARIA LAW, P.C.
   3017 Douglas Blvd., Ste. 200
 5 Roseville, California 95661
   Telephone: (408) 279-2288
 6 Facsimile: (408) 279-2299

 7 Attorneys for Plaintiff
   Laura Wylie
 8

 9
10                                 UNITED STATES DISTRICT COURT
11                EASTERN DISTRICT OF CALIFORNIA — SACRAMENTO DIVISION
12

13 LAURA WYLIE,                                            Case No.: 2:17-CV-0-02333-JAM-KJN
14                  Plaintiff,

15          vs.                                         PLAINTIFF’S NOTICE OF VOLUNTARY
                                                        DISMISSAL OF DEFENDANT BANK OF
16 BANK OF AMERICA, N.A.; et. al.,                      AMERICA, N.A. PURSUANT TO
                                                        FEDERAL RULE OF CIVIL
17                  Defendants.                         PROCEDURE 41(A)(1)

18

19

20 PLEASE TAKE NOTICE that Plaintiff Laura Wylie, pursuant to Federal Rule of Civil

21 Procedure 41(a)(1), hereby voluntarily dismisses Defendant Bank of America, N.A. as to all

22 claims in this action, with prejudice.

23          Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
24          41(a) Voluntary Dismissal
25          (1) By the Plaintiff
26                  (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any
27                      applicable federal statute, the plaintiff may dismiss an action without a court
28                      order by filing:

                                                       1
                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
     Case 2:17-cv-02333-JAM-KJN Document 16 Filed 04/10/18 Page 2 of 2


 1                       a notice of dismissal before the opposing party serves either an answer or a
                                 motion for summary judgment.
 2
            Defendant Bank of America, N.A. has neither answered Plaintiff’s Complaint, nor filed a
 3
     motion for summary judgment. Accordingly, the matter may be dismissed against it for all
 4
     purposes and without an Order of the Court.
 5

 6
     Dated: April 10, 2018                         Sagaria Law, P.C.
 7

 8                                            By:          /s/ Elliot W. Gale
                                                                    Elliot W. Gale
 9                                            Attorneys for Plaintiff
10                                            Laura Wylie

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       2
                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
